


THE STATE OF SOUTH CAROLINA


THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.&nbsp;
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
The State, Respondent,
v.
Emory Jenkins, Appellant.
      
    
  


Appeal From Aiken County
Diane Schafer Goodstein, Circuit Court Judge

Unpublished Opinion No. 2005-UP-268
Submitted April 1, 2005  Filed April 8, 2005

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Robert M. Pachak, of Columbia, for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Barbara R. Morgan, of Aiken, for Respondent.
      
    
  


PER CURIAM:&nbsp; Emory Jenkins pled guilty to unlawful conduct towards a child and manufacturing methamphetamine.&nbsp; He was sentenced to seven years, suspended upon the service of three years, plus three years probation for each charge, to be served concurrently.&nbsp; Jenkinss appellate counsel filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967).&nbsp; Counsel additionally submitted a petition to be relieved from representation, asserting there are no directly appealable issues of arguable merit.&nbsp; Jenkins did not file a pro se response with the Court.
After a review of the record pursuant to Anders and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels petition to be relieved.[1]
 APPEAL DISMISSED.
 ANDERSON, BEATTY, and SHORT, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

